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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
                                 JUDGE CHARLOTTE N. SWEENEY


   Civil Action:         22-cv-00581-CNS-NRN                   Date: July 18, 2024
   Courtroom Deputy:     Julie Dynes                           Court Reporter: Sarah Mitchell

                   Parties                                                   Counsel

    COLORADO MONTANA WYOMING STATE AREA                                   Casey Breese
    CONFERENCE OF THE NAACP                                               Amy Erickson
    LEAGUE OF WOMEN VOTERS OF COLORADO                                    Brian Dillon
    MI FAMILIA VOTA                                                     Courtney Hostetler
                                                                          Kristin Stock
                             Plaintiffs

    v.

    SHAWN SMITH                                                            Scott Reisch
                                                                          Jessica Hays
    ASHLEY EPP                                                               Pro Se
    HOLLY KASUN                                                          Cameron Powell
                                                                         Michael Wynne
                             Defendants


                                          COURTROOM MINUTES


   BENCH TRIAL DAY FOUR

   Court in Session: 9:12 a.m.

   The Court makes findings of fact, conclusions of law. As outlined on the record, it is

   ORDERED: Oral Motion for Judgment on Partial Findings under Fed. R. Civ. P. 52(c) is
            GRANTED as to both claims.

                  Judgment to enter in favor of the defendants.

   Court in Recess: 9:36 a.m.              Trial concluded.            Total time in Court: 00:24
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   Clerk’s note: Exhibits and depositions returned to counsel or a representative of counsel.
                 Counsel to retain exhibits until such time as all need for the exhibits has terminated
                 and the time to appeal has expired or all appellate proceedings have been
                 terminated plus sixty days.
